                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             WESTERN DIVISION

ELVIRA COLLINS,                               )
                                              )
                 Plaintiff,                   )
                                              )
   v.                                         )       Case No.: 09-00185-CV-W-REL
                                              )
ALLIED INTERSTATE, INC.,                      )
                                              )
                 Defendant.                   )

                                          ORDER

         Before the Court is a Joint Stipulation For Dismissal With Prejudice (Doc. No. 22).

In accordance with Federal Rule of Civil Procedure 41(a)(1)(A)(ii), it is

         ORDERED that this action is dismissed with prejudice. Each party shall bear its own

attorney’s fees and costs.




                                               /s/ Robert E. Larsen
                                              ROBERT E. LARSEN
                                              United States Magistrate Judge

Kansas City, Missouri
December 11, 2009




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